      Case 4:06-cr-00104-JMM         Document 260       Filed 03/12/08     Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


UNITED STATES OF AMERICA

       vs.                   CASE NO. 4:06cr00104-09 JMM

DORIS J. MARTIN


                        AMENDED JUDGMENT & COMMITMENT

       Pending before the Court is the United States’ motion to amend the judgment to

correct the total amount of restitution ($12,390.27) to reflect joint and several with Courtney

Johnson, Lanora Marshelle Glass, Lacresha Nicole Pugh and Khaleelah Rahshane Powell

(docket entry #249) The motion is granted.

       The judgment entered July 23, 2007 (docket entry #212) is amended to reflect that

the amount of restitution to Bank of America ($8,914.00) and restitution to Metropolitan

Bank ($3,476.27) is joint and several with co-defendants, Courtney Johnson (4:06cr00104-

01), Lanora Marshelle Glass (4:06cr00104-06), Lacresha Nicole Pugh (4:06cr00104-07),

and Khaleelah Rahshane Powell (4:06cr00104-08).

       The remaining portions of the Judgment will remain in full force and effect.

       The Clerk is directed to provide a copy of this order to the United States Probation

Office, the United States Marshals Office and the financial section of the Clerk’s office.

       IT IS SO ORDERED this 12th day of March, 2008.



                                           UNITED STATES DISTRICT JUDGE
